AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Western District of North Carolina ASHEVILLE Ac
"In the Matter of the Search of ) JAN 20 ZO4G
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th ‘enti the per son By mine and address) } Case No. 1:15mj144 12.8, i ee gQuRr
F ALC

MICHAEL A. BENANTI, DOB 5/13/1972
)

APPLICATION FOR A SEARCH WARRANT
, I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

ene Seo ngt MigHaSER? Motels 5/13/1972, who is currently in custody at the Buncombe County Detention .

Faciity

located in the Western District of North Carolina , there is now concealed (identify the

person or describe the property to be seized):
hair containing the DNA of Michael A. Benanti, DOB 5/13/1972

The basis for the search under Fed. R, Crim. P. 41(0) 1 is (check one or more):
® evidence of aor ime;
O} contraband, fruits of crime, or other items illegally possessed;
C1 property designed for use, intended for use, or used in committing a crime;
0 aperson to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 USC, sections 2113, 1201, bank robbery, kidnapping, use of a firearm in furtherance of a crime of violence,

924(c) and 374 and conspiracy

The application j is based on these facts:
See Affidavit

wt Continued on the attached sheet.

1 Delayed notice of days (give exact ending date if more than 30 days:
under 18 U.S.C, § 3103a, the basis of which is set forth on the attached sheet.

p-4 kes

Applicani’s signature

) is requested

James A. Anderson, FBI Special Agent
Printed name and title

Sworn to before me and signed in my presence.
Date: 01/20/2016 | GC 3 7 ML 0s
Judge’ s Lagre

David S. Cayer, United States Magistrate Judge, WONG

Printed name and title

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City and state: Asheville, NC

 
IN THE UNITED STATES DISTRICT COURT JAN 9
FOR WESTERN DISTRICT OF NORTH CAROLINA _ ' © 2015

IN THE MATTER OF THE SEARCH OF
MICHAEL A. BENANTI, DOB 5/13/1972 Case No. 1:15mji44

 

AFFIDAVIT

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I, James A. Anderson, being first duly sworn, hereby depose and state as follows:

1, I make this affidavit in support of an application for a search warrant for the
seizure of hair containing the DNA of MICHAEL A. BENANTI, DOB 5/13/1972 (BENANTI).
Based on my training and experience and the facts as set forth in this affidavit, there is probable
cause to believe violations of 18 U.S.C. §§ 2113 (bank robbery), 1201 (kidnapping), 924(c) (use
of a firearm in furtherance of a crime of violence) and 371 (conspiracy) have been committed.

There is also probable cause for the seizure of hair containing the DNA of BENANTI.

2. Iam a Special Agent with the Federal Bureau of Investigation (FBI), and have
been so employed since July 20, 1997. 1 am currently assigned to the Asheville Resident Agency
of the Charlotte field office. As a Special Agent, I am a law enforcement officer of the United
States as defined by Section 2510(7) of Title 18, United States Code (U.S.C.), that is, an officer
of the United States who is empowered by law to conduct investigations of and make arrests for
offenses enumerated in Section 2516 of Title 18, U.S.C. Asa Special Agent, I have conducted
and participated in a variety of criminal and national security investigations, including
investigations associated with foreign counterintelligence, counterterrorism, murder, bank

robberies, fugitives, financial crimes, computer crimes, as well as other violent criminal acts.

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3, The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter,

Details of Investigation

Robbery of Y-12 Federal Credit Union—April 28, 2015

4, On April 28, 2015, at approximately 8:15 a.m., an executive with Y-12 Federal
Credit Union (hereinafter “V1”), his wife (hereinafter “V2”), and their adult son (hereinafter
“V3”, were accosted by two masked males armed with handguns and a masked female at the

victims’ residence at 1916 Dobson Lane, Knoxville, Tennessee.

5, V1 was instructed by the suspects to drive to the Y-12 Federal Credit Union
located at 501 Lafayette Drive, Oak Ridge, Tennessee, and obtain a large amount of United
States currency from the credit union. V1 complied with the suspects’ demands and proceeded

to drive to the credit union. V2 and V3 were bound and blindfolded by the suspects and driven

around by the suspects in a vehicle owned by the victims,

6. Prior to V1 departing his residence for the credit union, the suspects used V1’s
cellular telephone to connect to V2’s cellular telephone that they had taken. The suspects
instructed V1 to keep his cellular telephone in his pocket, with the call connected to V2’s phone,
so that the suspects could monitor. V1’s activities while he travelled to and was at the credit

union. The suspects maintained control of V2’s telephone while driving around in the victims’

vehicle.

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7. While at the credit union, V1 wrote a-note to employees referencing a home
invasion and robbery because he knew that the suspects were listening and monitoring his
activities. One of the bank employees subsequently contacted the Oak Ridge Police Department

regarding V1 and the note he had given them.

8. V1 obtained a large amount of United States currency from the credit union vault
and returned to his car. Shortly thereafter, V1 was approached by officers of the Oak Ridge
Police Department. —

9, V1 announced to the suspects, through the open line on the cellular telephone,
that he was being approached by the police and asked them for instructions. Shortly thereafter,
the suspects aborted their plans, disconnected the call with V1, threw V2’s telephone out of the
car window, and a short time later, abandoned V2 and V3, still bound and blindfolded, in the

parking lot of the Gettysvue clubhouse in Knoxville, Tennessee. The suspects exited the
victims’ vehicle and fled the scene.

10. Several months later, a similar crime was perpetrated on a SmartBank bank
executive and his family.

Robbery of SmartBank—July 7, 2015

11. On July 7, 2015, at approximately 7:30 am, two masked males, similar in
description to the previous robbery, openly possessing firearms and a yellow-tipped crowbar,
forced their way into the home located at 8415 Swathmore Court, Knoxville, Tennessee 37919.
At the time of the home invasion, the home was occupied by an executive at SmartBank
(hereinafter “W1”), his wife (hereinafter “W2”), and their 5-month old infant son (hereinafter

“W3”). The victims barricaded themselves in the master bathroom as the armed suspects used

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the crowbar to pry open the master bedroom door. Having pried their way into the master
bedroom, the armed suspects next pried their way into the master bathroom. W2 observed the

crowbar used by the armed suspects and she reported that it had a yellow tip.

12. Once in the master bathroom, the armed suspects told W1that he (W1) was going
to help them rob his bank. The suspects told W1 to put on a shirt with a breast pocket. The
armed suspects then ordered W1 and W2, who held W3 in her arms, downstairs and into the
garage. Once in the garage, W1 observed an assault rifle with a curved magazine in W3’s

stroller. This assault rifle did not belong to the victims.

13. The armed suspects blindfolded W1 and affixed a “belly-belt” around his waist
and secured his wrists with handcuffs through the beit. They then instructed W2 to place W3 in
the car seat in W2’s silver Mazda 6 four-door sedan, which was parked in the garage. Alter
placing W3 in the car seat, the subjects blindfolded W2. W1, W2, and W3 sat in the back seat of
the car while the armed suspects occupied the two front seats. Prior to leaving the house in the
car, one of the armed suspects told the family that failure to do what the armed suspects said

could result in the family being killed.

14. After leaving the home in the car with the victim-family held hostage in the car,

W2 heard one of the suspects begin to utilize a GPS device.

15. | The armed suspects parked the car in an area behind the smartBank, which ts
located at 202 Advantage Place, Knoxville, Tennessee 37922. W1’s blindfold was removed, at
which time W1 observed that the two armed suspects were now wearing masks depicting old
men faces. The armed suspects directed Wi to initiate a cell phone call from his cell phone to
W2’s cell phone that they had taken. Once the call was connected, WI placed his cell phone in

his shirt breast pocket and maintained an open line with W2’s cell phone, which the armed

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suspects monitored. The subjects told W1 they would be monitoring the open line while W1

robbed the bank, and that W1’s wife and infant son would be hurt if W1 terminated the call or
instructed anyone to call the police.

16. The armed suspects gave W1 an empty cloth bag and instructed him to enter the
bank and remove money from the vault. W1 did as instructed and obtained approximately
$195,000 in cash and placed the money inside the bag and left the bank. The armed suspects met
W1 in the SmartBank’s parking lot. The passenger side door opened up and one of the armed
suspects instructed W1 to hand over the money bag. W1 asked if, after.turning over the money
bag, his wife and child would be released. The armed suspect again directed W1 to turn over the
money bag and also informed W1 that his family would not be released, but that they would not
be hurt so long as W1 complied. W1 gave the money bag to the armed suspect and the car

immediately sped away with W2 and W3 still in the car, leaving W1 in the bank parking lot.

17. While in the car, W2 could hear the armed suspects talking to each other. She
also heard what sounded like the two armed suspects talking to another person who was not
inside the car.

18. The armed suspects drove to a densely wooded area off of a gravel road on Pipkin
Lane. W2 was told to remain in the car and count for approximately ten minutes, after which

W2 could get out of the car and find her car keys on the ground. W2 heard the men get out of

her car and moments later heard another vehicle. After several minutes, W2 got out of her car,

found her keys, and drove to find help.

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Vehicle Chase—September 3, 2015

19. On September 3, 2015, the North Carolina State Highway Patrol (NCSHP) was
involved in a vehicle pursuit with a vehicle determined to be stolen from New Hampshire. ‘Two
white males, each carrying black duffel bags, fled from the vehicle and were pursued on foot, but
the pursuit was terminated by the Trooper, who believed he was going to be ambushed. The.

subjects escaped.

. Attempted Robbery of Northeast Community Credit Union—October 21, 2015

20. On the morning of October 21, 2015, an employee (hereinafter “X1”) at Northeast
Community Credit Union (NCCU), located in Elizabethton, Tennessee, exited her residence with
her three year old son (hereinafter “X2”) on her way to work, X1 took X2 to the right rear
passenger side of her vehicle and placed him in his car seat.

21. As X1 was securing X2 in his car seat, X1 heard footsteps behind her. When she
looked up, X1 saw an adult mate dressed in black, wearing a black ski mask walking towards

her. The masked male brandished a black, semi-automatic pistol in his right hand and a crowbar

with yellow on it in his left hand. The armed male was wearing black gloves and pointed the gun

at X1 as he moved towards her.

22, XI thought the armed male was her brother-in-law attempting to scare her so she
grabbed his gun and pushed him away. In response, the armed male shoved X1, who fell into her
vehicle. After coming to her senses, X1 observed a second adult male, dressed in similar clothing

as the other male appear from behind X1’s husband’s vehicle. This second male did not appear

to be carrying a weapon.

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23. ‘The armed male advised X1 that he and his associate were planning to rob
NCCU, The armed male directed X1 to get into her vehicle, to which X1 agreed. X1 crawled
over X2’s car seat and positioned herself in the left rear passenger seat of her vehicle, beside of
her son and directly behind the driver. The masked males got into X1’s vehicle and shut their
doors. The armed male sat in the driver's seat and the other male sat in the right front passenger

seat, The male in the passenger seat shoved a black and gray duffel bag, with wheels and a

handle, into the back seat with X1.

24. The armed male asked X1 what time she began work at NCCU. X1 informed him
that her work day started at 7:45 a.m. and that it would be suspicious if she were late, The armed
male questioned X1 about the arrival times of NCCU employees. X1 stated that NCCU’s head
teller (hereinafter “X3”) arrived early, but the remaining bank employees arrived around 8:15
a.m. or 8:20 a.m. The armed male used X1's mobile telephone to send X3 a text message
advising X3 that X1 would be a few minutes late to work. Afterwards, one of the male
individuals handed X1 a black headband and instructed X1 to place the headband over her eyes.
X1 was also instructed to place the scarf she was wearing around her eyes. Once X1 was

blindfolded, the armed male exited X1’s residence in X1’s vehicle. X1’s son began to cry and the

male in the passenger seat told X1 to shut X2 up.

25. After driving approximately five minutes the vehicle stopped, the male in the
passenger seat exited the vehicle and the vehicle sped off. X2 began to cry and wanted to see his
mother's face. The armed male allowed XI to remove her blindfold to calm her son. With her

blindfold removed, X1 noticed that they were being followed by a black Jeep with a chrome

grill,

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26. During the trip, X1 overheard the verbal directions from a global positioning
system (GPS), but was unable to understand what was being said. X1 also overheard the driver,
possibly using a headset, talking with someone. X1 only heard the driver’s side of the

conversation, but he was using law enforcement or military type jargon.

27, The driver instructed X1 to place the blindfold back over her eyes. He drove for
approximately 10 more minutes before stopping again in an area that smelled like woods. He got
out of X1’s vehicle, but left the driver's door open. The driver spoke with someone but X1 could
not hear what they were saying. A passenger got into the car with the driver and they sat there a
few minutes. The driver told X1 that it would all be over quickly, and for her to just go in and
get the money. The driver told X1 to stay calm and that ifthe "cops" were called that there

would be a gunfight and she and her son would be in the middle of it.

28, A few minutes after leaving the second location, the driver asked X1 which end to
pull in to. X1 advised the driver that she would have to remove her blindfold to see where to go.
When X1 removed her blindfold, she noticed the subjects had changed their masks... They were
no longer wearing ski masks, but pull over type masks depicting old man faces. These masks
had black hair on the back and both subjects had placed baseball style caps on their heads on top
of the masks. X1 observed an assauit rifle lying on the center console between the front

passenger seats. There was also a GPS unit on the center console closer to the radio area of the

vehicle.

29, Once at NCCU, the driver instructed X1 to go inside NCCU, get $350,000.00 and
be back within five minutes. The driver further instructed X1 not to get bait money, wires, or

dye packs and not to contact law enforcement. X1 took the black duffel bag and went inside

NCCU.

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30.  X3 was present at NCCU when X1 entered the building. X1 advised X3 there
were two inen outside NCCU holding her son hostage and that she had five minutes to get
money from NCCU. Xt pleaded with X3 to open the vault, but X3 refused to open it. X3
eventually gave the combination to X1, but refused to help X1 open the vault. X1 asked two
other NCCU employees for assistance, which met with negative results. X1 grabbed the duffel
bag and returned to her vehicle. X1 wrapped her arms around her son and told the males that she

was unable to get inside the vault. X1 begged the men to not kill her and her son. X1 also told

the men that X3 had called the police.

31.  The.driver placed X1’s vehicle in reverse and gave X1 her blindfold to place back
over her eyes. The driver exited through the credit union entrance and sped away nearly striking

another NCCU employee’s vehicle in the process.

32.  X1’s vehicle eventually stopped and the men exited the vehicle. The driver
opened the rear, driver's side, passenger door.and instructed X1 not to look up as he removed her
blindfold, There was a bag in X1’s vehicle which the driver instructed her to place over her head.
The driver told X1 to wait ten minutes, not to move, and then she could cali the police and was
free to leave, As soon as X1 heard another vehicle moving she looked up and saw the black Jeep
leaving the area. X1's keys were left in the driver's floor and her mobile telephone was left in the

passenger's floor. X1 contacted her husband and police for assistance.
Examination of the GPS from September 3, 2015 Vehicle Chase

33.  Suspecting that the subjects were related to the aforementioned robberies, FBI
Johnson City Resident Agency al CRA), Knoxville Division, SAs obtained the GPS found in the
abandoned, stolen vehicle on September 3, 2015 from the NCSHP. The GPS was forensically

examined and found to list a track to address, 124 Rebel Ridge Road, Canton, North Carolina.

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Further investigation revealed the address was managed by the rental company, Premier
Vacation Rentals (PVR). |

34, JCRA SAs contacted PVR and learned that two white males, in their 30s, began
renting cabins from PVR on June 19, 2015. The same two males stayed at 124 Rebel Ridge
Road from July 27, 2015 through October 25, 2015. The cabin rental was extended to November
15, 2015. The employee said the two males placed a deposit on “Southern Comfort” to be

occupied on November 16, 2015, which has been identified as a nickname for 380 Allison Drive,

Maggie Valley, North Carolina, another property managed by PVR.
Tracking to 380 Allison Drive, Maggie Valley, North Carolina

35, FBI Asheville Resident Agency, Charlotte Division, obtained a consent to search
of 124 Rebel Ridge Road and processed the scene for trace evidence on November 19, 2015. The
FBI also notified Haywood County Sheriff's Office (HCSO) about their actions and the
unfolding investigation. HCSO agreed to conduct physical surveillance on the residence located
at 380 Allison Drive, Maggie Valley, North Carolina, when available, in order to determine if

there were any new vehicles arriving or if probable cause for arrest could take place.

36. On November 24, 2015, HCSO investigators were conducting surveillance near
380 Allison Drive, Maggie Valley, North Carolina when they observed a maroon Toyota
Uighlander with a South Carolina license tag leave the residence driven by a white male.
Surveillance was conducted as the vehicle drove into Maggie Valley and stopped at a gas station.
Investigators ceased surveillance after the vehicle was observed returning to 380 Allison Drive,

Maggie Valley, North Carolina. A registration check of that tag returned to a GMC Yukon.

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Vehicle Chase—November 25, 2015

37. On November 25, 2015 at approximately 11:30 A.M., FBI Special Agent Rory
Poynter was notified by HCSO investigators that a surveillance team had observed a gray Nissan
Pathfinder, occupied by two white males leaving 380 Allison Drive, Maggie Valley, North
Carolina. They conducted a registration check of the vehicle and determined it to have stolen

license tags out of Maryiand.

38. NCSHP Troopers were notified and a traffic stop was attempted on I-26
Eastbound. The driver ignored the emergency lights and sirens of the NCSHP vehicles and
proceeded on ]-26 Eastbound to Long Shoals Road, at which point it exited the Interstate and re-
entered the I-26 Eastbound on-ramp. The driver stopped, the passenger door opened, and a white
male, later identified as MICHAEL ANTHONY BENANTI (BENANTD), exited the vehicle and

was taken into custody.

39. The driver proceeded onto I-26 Eastbound until driving into the median and began
driving on I-26 Westbound towards the Long Shoals exit. The driver continued on Long Shoals
and left the roadway into a construction site, at which time he exited the vehicle and fled on foot.
During the foot pursuit the driver reached into his jacket and yelled “You want to get shot” at
pursuing officers. The driver-was taken into custody shortly thereafter. The driver refused to
provide identity, but was later identified to be BRIAN WITHAM (WITHAM). Law
enforcement officers determined that the Nissan Pathfinder occupied by WITHAM and

BENANTI was stolen out of Maryland, in addition to having stolen Maryland license tags.

40, | BENANTI was transported to the scene where WITHAM was taken into custody,
While BENANTI was handcuffed he began fidgeting and in what was believed to be an effort to

conceal an item in his hand. Officers seized from his hand a balled-up sheet of paper which had

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handwritten notes of addresses later identified as bank locations, and names of individuals later
confirmed to be bank employees. This sheet of paper also contained South Carolina license tag
numbers. Also contained in the note were the words “FIND CEO,” “FIND CARS AT

BRANCH,” and “CALL, WATCH IT CLOSE.”

41. Both BENANTI and WITHAM had black bags, each of which contained black
rubber gloves. BENANTI kept his bag with him when he was taken into custody and
WITHAM’s bag was catried with him during the foot pursuit. BENANTI’s black bag also
contained a digital camera, food items, a cell phone charger, a stocking cap, and a monocular

scope. BENANTI was in possession of approximately $1500 and a key to a Lincoln vehicle.

42. Upon WITHAM being transported to Buncombe County Detention Facility
(BCDF), the NCSHP Trooper who was involved in the vehicle chase on September 3, 2015
positively identified WITHAM to be the driver who fled from him during the earlier chase. The

same Trooper did not identify BENANTI as being involved in that same pursuit.

43. A search of the subject vehicle was conducted and a black stocking cap, gloves,

and two cell phones with the batteries removed wrapped in plastic were found. A full 5-gallon
can of gasoline was located in the vehicle.

44, At 12:03am on November 26, 2015, FBI SA Rory Poynter, Asheville Resident
Agency, Charlotte Division, obtained a search warrant from the Honorable Dennis L. Howell,
Magistrate Judge, Western District of North Carolina, for authority to search the premises

located at 380 Allison Drive, Maggie Valley, North Carolina.

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45, In the early morning hours of November 26, 2015, FBI SAs, with HCSO support,
executed the search warrant at 380 Allison Drive, Maggie Valley, North Carolina. Forcible entry

was made into the residence by the HCSO. The residence was found to be unoccupied.

46. The search of the residence was concluded on November 27, 2015 and resulted in
the seizure of numerous items, including loaded weapons and magazines, masks, including old
men rubber masks, wigs, duffle bags, fake identification documents, a currency counter, bolt
cutters and other tools, including the yellow tipped crowbar described by W2 and_X1, color
printouts of bank employees, including victim X1 and her family, black and camouflage
clothing, gloves and numerous electronic devices. The residence was secured and left in the care
of a representative from PVR. A copy of the search warrant and a list of the seized items were
provided to WITHAM on November 27, 2015 at the BCDF by FBI SAs Jeffery Blanton and

Poynter. Both BENANTIT and WITHAM are prior convicted federal felons.

47, The items seized at the residence are believed to contain DNA evidence that will
link BENANTI and WITHAM to the aforementioned incidents'. Based upon my training and
experience, I know that hairs can be transferred onto worn items and articles of clothing.
Anything that the subjects wore especially items worn in close contact with the skin such as the
clothing, wigs and the rubber masks, which were all found during the search of the residence.
These items were collected and will be sent to the FBI Laboratory and will need a DNA
comparison sample from BENANTI to confirm or deny the presence of mitochondrial DNA left

by BENANTI, Deoxyribonucleic acid (DNA) analysis can occur on hair, body fluid stains and

 

! Both BENANTI and WITHAM have been indicted in the Eastern District of Tennessee for their crimes in that
district, Writs were secured for their removal to the Eastern District of Tennessee. WITHAM is already enroute to
the Eastern District of Tennessee, but BENANTI is still in custody in the Western District of North Carolina at the

BCDF,

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other biological tissues recovered from items of evidence. The DNA testing results obtained
from evidence samples are compared to DNA from reference samples collected from known
individuals. Such analyses may be able to associate victims and suspects with each other, with |
evidence items, or with a crime scene. The FBI Laboratory can conduct nuclear, Y-chromosome,

and/or mitochondrial DNA testing on evidence samples as appropriate.

Conclusion

48, Based on the aforementioned information, I have probable cause to believe, and I
do believe, that evidence related to BENANTT’s violations of 18 U.S.C. §§ 2113 (bank robbery),
1201 (kidnapping), 924(c) (use of a firearm in furtherance of a crime of violence) and 371
(conspiracy) as set forth above, is currently located_on the person of BENANTI, who is currently

incarcerated at the BCDF.

Respectfully submitted,

Qo.
Jaynés A, Anderson

Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me on J anuarye0, 2016

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David SY Cayer eo
United States Magistrate Judge
Western District of North Carolina

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